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                                       EXHIBIT A

                                     Proposed Order




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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


In re:                                                                       Chapter 7

START MAN FURNITURE, LLC, et al. (f/k/a Art                                  Case No. 20-10553 (CTG)
Van Furniture, LLC), 1
                                                                             (Jointly Administered)
                                    Debtors.
                                                                             Re: Docket No. ____

 EIGHTH ORDER (A) FURTHER ENLARGING THE PERIOD WITHIN WHICH THE
   TRUSTEE MAY REMOVE ACTIONS AND (B) GRANTING RELATED RELIEF,
                THROUGH AND INCLUDING MAY 28, 2024

          Upon consideration of the motion (the “Motion”) 2 of Alfred T. Giuliano, chapter 7

trustee (the “Trustee”) to the estates of the above-captioned debtors (the “Debtors”), for entry of

an order: (a) further enlarging the removal period for filing notices of removal of Actions by one

hundred eighty three (183) days, through and including May 28, 2024, without prejudice to the

Trustee’s right to seek further extensions; and (b) granting related relief, all as more fully set

forth in the Motion; and the district court having jurisdiction under 28 U.S.C. § 1334, which was

referred to this Court under 28 U.S.C. § 157 pursuant to the Amended Standing Order of

Reference from the United States District Court for the District of Delaware, dated February 29,

2012, and the Court having the power to enter a final order consistent with Article III of the

United States Constitution; and this Court having found that this is a core proceeding pursuant to

28 U.S.C. § 157(b)(2); and this Court having found that venue of this proceeding and the Motion


1 The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, include: Start Man
Furniture, LLC (f/k/a Art Van Furniture, LLC) (9205); SVF Holding Company, Inc. (f/k/a AVF Holding Company, Inc.) (0291);
SVCE, LLC (f/k/a AVCE, LLC) (2509); StartVF Holdings I, LLC (f/k/a AVF Holdings I, LLC) (2537); StartVF Holdings II,
LLC (f/k/a AVF Holdings II, LLC) (7472); SVF Parent, LLC (f/k/a AVF Parent, LLC) (3451); Levin Parent, LLC (8052); Start
Man Furniture of Canada, LLC (f/k/a Art Van Furniture of Canada, LLC) (9491); SV Sleep Franchising, LLC (f/k/a AV Pure
Sleep Franchising, LLC) (8968); SVF Franchising, LLC (f/k/a AVF Franchising, LLC) (6325); LF Trucking, Inc. (1484); Sam
Levin, Inc. (5198); and Comfort Mattress LLC (4463).
2 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.




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in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found

that notice of and opportunity for a hearing on the Motion were appropriate; and this Court

having determined that the legal and factual bases set forth in the Motion establish cause for the

relief granted herein; and after due deliberation, it is HEREBY ORDERED THAT:

         1.        The Motion is GRANTED as set forth herein.

         2.        The time period provided by Bankruptcy Rule 9027 within which the Trustee may

file notices of removal of related proceedings under Bankruptcy Rule 9027(a)(2) is enlarged and

extended through and including May 28, 2024 (the “Pre-Petition Removal Deadline”).

         3.        The Pre-Petition Removal Deadline applies to all matters specified in Bankruptcy

Rule 9027(a)(2)(A), (B), (C).

         4.        The time period provided by Bankruptcy Rule 9027 within which the Trustee may

file notices of removal of related proceedings under Bankruptcy Rule 9027(a)(3) is enlarged and

extended to the later of (i) May 28, 2024, and (ii) the time period specified in Bankruptcy Rule

9027(a)(3)(A) and (B) (i.e. the shorter of (A) 30 days after receipt, through service or otherwise,

of a copy of the initial pleading setting forth the claim or cause of action sought to be removed,

or (B) 30 days after receipt of the summons if the initial pleading has been filed with the court

but not served with the summons) (the “Post-Petition Removal Deadline”).

         5.        The Post-Petition Removal Deadline applies to all matters specified in

Bankruptcy Rule 9027(a)(3).

         6.        This Order shall be without prejudice to (a) any position the Trustee may take

regarding whether section 362 of the Bankruptcy Code applies to any litigation pending against

the Debtors, including, but not limited to, any of the Actions, or (b) the Trustee’s right to seek




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further extensions of the time within which to file notices of removal of the Actions, or any other

actions and related proceedings, upon motion filed with the Court.

         7.        All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

         8.        The Trustee is authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

         9.        This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.




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